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                UNITED STATES DISTRICT COURT
               CENTRAL DISTRICT OF CALIFORNIA




  VITAL PHARMACEUTICALS,               CV 23-3862 DSF
  INC., et al.,
        Plaintiffs,                    Order to Show Cause Why Case
                                       Should Not Be Transferred Back
                   v.                  to the Southern District of
                                       Florida
  MONSTER ENERGY COMPANY,
  et al.,
          Defendants.




        This case originated as an adversarial action in Plaintiffs’
 bankruptcy proceedings in the Southern District of Florida.
 Defendants filed a motion in the District Court seeking withdrawal of
 the reference and transfer to this District. It appears that due to the
 opposition to the motion being filed in the Bankruptcy Court instead of
 the District Court, the District Court granted the motion for lack of
 opposition. On a motion for reconsideration, the District Court found
 that it lacked jurisdiction to reconsider the transfer order under
 Eleventh Circuit law. The District Court explicitly noted that “[t]his is
 not to say that Plaintiffs are precluded from petitioning the Central
 California District Court to retransfer the case.” Dkt. 17 at 2 n.1.

       Given that the motion to withdraw the reference and to transfer
 the case was granted on the mistaken impression that there was no
 opposition to the motion, Defendants are ordered to show cause, in
 writing, no later than June 7, 2023, why this case should not be
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 transferred back to the Southern District of Florida to allow the
 District Court to rule on the merits of the motion.

       IT IS SO ORDERED.



  Date: June 1, 2023                     ___________________________
                                         D  l S
                                         Dale S. Fi  h
                                                 Fischer
                                         United States District Judge




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